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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA

KYLE EYRE as Personal Representative
of the Estate of CODY EYRE,

                  Plaintiff,
vs.

THE CITY OF FAIRBANKS, a
municipal corporation, RICHARD            Case No. 4:19-cv-00038-SLG
SWEET, TYLER LARIMER, the STATE
OF ALASKA, ELONDRE JOHNSON,
NATHANIEL JOHNSON, JAMES
THOMAS III, CHRISTINE JOSLIN, and
JOHN DOES 1-10,

                  Defendants.


           JOINDER ON MOTION FOR SUMMARY JUDGMENT

      Defendant City of Fairbanks, by and through counsel Sedor, Wendlandt,

Evans & Filippi, LLC, hereby joins in Trooper Elondre Johnson, Trooper Nathaniel

Johnson, Trooper James Thomas, III, and Trooper Christine Joslin’s motion for

summary judgment.




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               Respectfully submitted this 9th day of July, 2021.

                                      SEDOR, WENDLANDT, EVANS & FILIPPI, LLC
                                      Attorneys for Defendant

                                      By:             /s/Clinton M. Campion____ _____
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                                             FAIRBANKS




CERTIFICATE OF SERVICE

I hereby certify that a true and correct
copy of the foregoing was served this
9th day of July, 2021 electronically by
ECF on:

Mark C. Choate
Zane D. Wilson
Aisha Tinker Bray

_ _ /s/Riza Smith___ _
Certification signature




JOINDER ON MOTION FOR SUMMARY JUDGMENT
Kyle Eyre vs. The City of Fairbanks, Et al. - Case No. 4:19-cv-00038-SLG     Page 2 of 2

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